,,, ___`

ease 1:18-mj-02047-SAG Documem 3 Filed 03/09/18 EQQ€`T (i:ii§§€t)""" §:;§:/ian
---- D
AUG 0 9 2013
IN THE UNITED sTATEs DISTRICT CoURT CLERK §SBALWORE
FoR THE DISTRICT oF MARYLAND m otsrht¢f£'§it'?§l£?t§m
DEPU`I'Y

IN THE MATTER 0F THE APPLICATIoN = . Y,
or THE UNITED sTATEs = Nos. l Q)Oq”/'SH'C)“ “lLD
oF AMERICA FoR A sEARcH wARRANT

REQUIRING DIsCLosURE oF l g' 520 50 - §/H'O/

HISTORICAL CELLULAR SITE INFO.

 

AFFIDAVIT IN SUPPORT OF AN APPLICATI()N FOR A SEARCH WARRANT
REOUIRING DISCLOSURE OF HISTORICAL CELLULAR SITE INFORMATION

Jessica Woodin, a Special Agent with the Bureau of Alcohol, Tobacc-o, Firearms and
Explosives (“ATF”) being duly sworn, states:
l. This affidavit is being submitted in support of an application for a search warrant

to search the records of AT&T, Sprint, T-Mobile, and \_/erizon Wireless (“the Service Providers”)

 

to disclose certain records and other information pertaining to the cellular telephone towers
described in Part l of Attachment A. The records and other information to be disclosed are
described in Part ll of Attachment A.

2. The applied for warrant would authorize the analysis of the transactional records
for the purpose of identifying the individuals responsible for an armed carjacking and attempted
possession of stolen firearms at the specified location described in this affidavit, by members of

the ATF, or their authorized representatives, including but not limited to other law enforcement

 

agents assisting in the above described investigation
3. Because this affidavit is being submitted for the limited purpose of establishing
probable cause for a search warrant, l have not included every detail of every aspect of the

investigation Rather, l have set forth only those facts that I believe are necessary to establish

probable cause. l have not, however, excluded any information known to me that would defeat a

 

 

 

Case 1:18-mj-02047-SAG Document 3 Filed 08/09/18 Page 2 of 10

determination of probable cause. The facts in this affidavit come from my personal obscrvations,
my training and experience, and information obtained from other agents, police officers, witnesses,
cooperating sources, telephone records, and reports. This affidavit is intended to show merely that
there is sufficient probable cause for the requested warrant and does not set forth all of my
knowledge about this matter.

4. Based on the facts set forth in this affidavit, there is probable cause to believe that
violations of 18 U.S.C. § 2119 - Arrned Carjacking and 18 U.S.C. § 922(]) - Possession of Stolen
Firearms, have been committed by the unknown subjects described herein There is also probable
cause to believe that a search of the cell tower data as described below and in Attachment A will
result in identification of the subjects and the recovery of items constituting evidence of this
criminal violation

AGENT BACKGROUND

5. l arn “an investigative or law enforcement officer” of the United States within the
meaning of 18 U.S.C. § 2510(7), that is, an officer of the United States who is empowered by law
to conduct investigations of, and to make arrests for, the offenses enumerated in 18 U.S.C. § 2516.

6. l am a Special Agent with ATF and arn currently assigned to a joint task force
comprised of ATF agents and detectives from the BPD. l have been employed by the ATF since
2013. l have participated in investigations focusing on controlled dangerous substance (CDS)
trafficking, home invasions, gangs, carjackings and illegal firearms 1 have conducted covert
surveillance of suspected CDS traffickers, interviewed individuals involved in gangs, CDS
trafficking, and firearms trafficking, participated in Title III wiretap investigations as a monitor

and member of surveillance teams, participated in the execution of numerous state and federal

 

 

Case 1:18-mj-02047-SAG Document 3 Filed 08/09/18 Page 3 of 10

search and arrest warrants involving CDS traffickers, firearms traffickers, and violent offenders,
to include horne invasion crews, and participated in the seizure of numerous firearms and
controlled dangerous substances

PROBABLE CAUSE

7. The ATF, Baltimore City Police Department (“BPD”) and the Baltirnore County

Police Department (“BCPD”) are conducting a criminal investigation involving two armed\

carjackings connected to an attempted burglary of a Federal Firearms Licensee (FFL) committed
by at least two unidentified individuals

8. On April 29, 2018, at approximately 11:42 PM, BPD received a call for an armed
carjacking in the 800 block of Belgian Avenue, Baltimore, Maryland. T.he victim reported that two
unknown males dressed in all black and wearing ski masks stole his 1999 burgundy Jeep Grand
Cherokee (MD tag 1CW2961). The victim also reported that the men stuck an unknown black
caliber pistol in his face and stated, “give me your key.”

9. On April 30, 2018, at approximately 12:54 AM, BCPD received a call for an armed
carjacking at 702 Peterson Road, Middle River, Maryland. The victim reported that two unknown
males dressed in all black with ski masks opened the doors of his 2010 silver Honda Accord (MD
tag 3DF7532). One suspect pointed a black unknown caliber pistol in the victim’s face and said,
“Get out of the car”. The other suspect stated, “Give me the keys.” The victim exited the vehicle;
the two suspects entered and fled the area. The victim noticed a burgundy vehicle turn around and

follow behind the stolen Honda.

10. That same day at 2:34 AM, BCPD received a ca11 for an attempted burglary at

Freestate Gun Range, located at 11500 Crossroads Circle, in Middle River, Mary]and. Officers

 

Case 1:18-mj-02047-SAG Document 3 Filed 08/09/18 Page 4 of 10

located the burgundy Jeep Cherokee described in paragraph 8 parked on the sidewalk in front of
the business entrance door. The leep was still running and appeared as if it had been used in a
failed attempt to gain entry into the gun range. Off`icers did not locate any suspects at the scene
leading investigators to believe that there was a second get-away car.

l 1. Based on the evidence gathered to date and my knowledge, training, and
experience, l believe that the same suspects committed both carjackings and the attempted
burglary/attempted possession of stolen firearms I know that individuals involved in carjackings
frequently use cellular telephones, communication devices, and other electronic media storage to
further their illegal activities. l know that it is not uncommon for suspects to communicate via
cellphone before, during and after a robbery has been committed in order to coordinate their
planning and commission of the robbery as well as to coordinate their flight from the scene of the
crime. I have investigated multiple carjackings in which the subjects have used two way
communications and believes the subjects in the above described robberies did the same1

12. Based on the above, 1 believe the information requested in the search warrant can
assist in identifying the suspect or suspects and as evidence in court for the crime of carjacking
and attempted possession of stolen fireanns.

FACTS ABOUT CELL TOWERS IN GENERAL
13. Many cellular service providers maintain antenna towers (“cell towers”) that serve

specific geographic areas. Each cell tower receives signals from wireless devices, such as cellular

 

l An order pursuant to 18 U.S.C. § 2703(€) & (d) was issued on May 7, 2018 by the Honorable
Judge J. Mark Coulson, for the other caijacking and attempted FFL burglary (pre-Carpenter). See
18-388.

Case 1:18-mj-02047-SAG Document 3 Filed 08/09/18 Page 5 of 10

phones, in its general vicinity. These cell towers allow the wireless devices to transmit or receive
communications, such as phone calls, text messages, and other data. The tower closest to a
wireless device does not necessarily serve every ca11 made to or from that device

14. In addition to a unique telephone number, each cell phone is identified by one or
more unique identifiers. Depending on the cellular network and the device, the unique identifiers
for a cell phone could include an Electronic Serial Number (“ESN”), a Mobile Electronic Identity
Number ("'MEIN”), a Mobile Identiflcation Number (“MIN”), a Subscriber Identity Module
(“SIM”), a Mobile Subscriber lntegrated Services Digital Network Number (“MSISDN”), an
lnternational Mobile Subscriber ldentifier (“IMSI”), or an Intemational Mobile Equipment
Identity (“IMEl”~).

15. Cellular service providers routinely maintain historical cell-tower log information,
including records identifying the wireless telephone calls and communications that used a
particular tower. For each communication5 these records may include the telephone call number '
and unique identifiers for the wireless device in the vicinity of the tower that made or received the
communication (“the locally served wireless device”); the source and destination telephone
numbers associated with the communication (including the number of the telephone that called or
was called by the locally served wireless device); the date, time, and duration of the
communication; the “sectors” (i.e., the faces of the towers) that received a radio signal from the
locally served device; and the type of communication transmitted through the tower (such as phone
call or text message).

PURPOSE OF THE SEARCH

16. Based on the time of each carjacking and the distance between that location and the

 

 

r_, _1
Case 1:18-mj-02047-SAG Document 3 Filed 08/09/18 Page 6 of 10

location of the FFL store: it is likely that only the Subjects’ mobile devices would have used the
l towers that served the areas near each of the events described above. ldentifying a mobile device
that used those towers on the specified date and times would lead to the identification of the
subjects. Each of the subjects’ mobile devices would have a unique telephone number and
Electronic Serial Number (“ESN”), which is registered to a respective carrier. The carrier would
have identifying subscriber inforrnation, which can be used to identify the individual utilizing a
specific mobile device Upon identification of a mobile device, l will obtain a subpoena to obtain
the subscriber information from the respective carrier to further the investigation
REOUEST FOR A SEARCH WARRANT

17. n Given the facts set forth above, l have probable cause to believe the records
described in Attachment A would identify which wireless devices were in the immediate vicinity t
of the addresses listed in Attachment A around the time the carjacking occurred on April 30, 2018
at approximately 12:54 AM. This information, in turn, will assist law enforcement in determining
the wireless devices utilized by the subjects

18. WHEREFORE, I respectively request that the Court issue a warrant authorizing
members of the ATF, or their authorized representatives, including but not limited to other law
enforcement agents assisting in the above described investigation, to analyze the records, as
described in Attachrnent A, for the purpose of identifying the individual responsible for the armed

carj acking described above.

Jessic oodin
Special Agent - Bureau of Alcohol, Tobacco,
Firearrns and Explosives

 

‘ l ll£'/?S”°”'°ZOW

Case 1:18-mj-02047-SAG Document 3 Filed 0 Page 7 of 10

../»v
946 '/'0[) ”'¢20®

Sworn to before me on this §§ day of July 2018.

srsrnrn_’\its A. GALLAGHER
uNrrEo srArEs MAGIsTRArE JUDGE

 

_ Case 1:18-mj-02047-SAG Document 3 Filed 08/09/18 Page 8 of 10

ATTACHMENT A
I. The Cell Towers
7 This order applies to certain records and information associated with cellular telephone

towers (“cell towers”) that provide coverage to the following areas at the listed date and times:

 

 

 

Location Dates 'I`imes
702 Peterson Road, Middle April 30, 2018 12:45 AM through l AM (EST)
River, Maryland 21220

 

 

 

 

 

II. Records and Other Information to Be Disclosed
For the cell tower described in Part I of this Attachrnent, the Service Providers named in
the Search Warrant are required to disclose to the United States all records and other information
(not including the contents of communications) about all communications made using the cell
tower during the corresponding timeframe(s) listed in Part 1, including the records that identify:
A. the telephone call number and unique identifiers for each wireless device in the
vicinity of the tower (“the locally served wireless device”) that registered with the
tower, including Electronic Serial Numbers (“ESN”), Mobile Electronic Identity
Numbers (“MEIN”), Mobile identification Numbers (“MIN”), Subscriber Identity
Modules (“SIM”), Mobile Subscriber lntegrated Services Digital Network

Numbers (“MSISDN”), lnternational Mobile Subscriber ldentifiers (“IMSI”), and

Intemational Mobile Equipment ldentities (“lMEl”);

 

 

Case 1:18-mj-02047-SAG Document 3 Filed 08/09/18 Page 9 of 10

B. the source and destination telephone numbers associated with each communication
l (including the number of the locally served wireless device and the number of the
telephone that called, or was called by, the locally served wireless device);
C. the date, time, and duration of each communication;
D. the “sectors” (i.e. the faces of the towers) that received a radio signal from each
locally served wireless device; and
E. the type of communication transmitted through the tower (such as phone call or text
message).
These records should include records about communications that were initiated before or
terminated after the specified time period, as long as part of the communication occurred during

the relevant time period identified in Part I.

 

 

 

1 1111 ,__%

Case 1:18-mj-02047-SAG Document 3 Filed 08/09/18 `Page 10 of 10

CERTIFlCATE OF AU'l`l-IENTICITY OF DOMESTIC BUSINESS RECORDS PURSUANT
TO FEDERAL RULE OF EVIDENCE 902§ l 1 g

I, 1 , attest, under penalties of perjury under the

 

laws of the United States of America pursuant to 28 U.S.C. § 1746, that the information
contained in this declaration is true and correct. l am employed by [Provider], and my official

title is . l am a custodian of records for [Provider]. 1 state

 

that each of the records attached hereto is the original record or a true duplicate of the original
record in the custody of [Provider], and that l am the custodian of the attached records consisting
of (pagestVDs/terabytes). l further state that:
a. all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth, by, or from information transmitted by,
a person with knowledge of those matters;
b. such records were kept in the ordinary course of a regularly conducted
business activity of [Provider]; and
c. such records were made by [Provider] as a regular practice.
1 further state that this certification is intended to satisfy Rule 902(11) of the Federal

Rules of Evidence.

 

 

Date Signature

